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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

JARROD STRINGER, ET AL.,                                          §
      Plaintiffs,                                                 §
                                                                  §
V.                                                                §         NO. 5:16-CV-00257
                                                                  §
ROLANDO PABLOS, 1 IN HIS OFFICIAL CAPACITY                        §
AS THE TEXAS SECRETARY OF STATE AND                               §
STEVEN C. MCCRAW, IN HIS OFFICIAL CAPACITY                        §
AS THE DIRECTOR OF THE TEXAS DEPARTMENT OF                        §
PUBLIC SAFETY,                                                    §
       Defendants.                                                §


                     DEFENDANTS’ DESIGNATION OF REBUTTAL EXPERT WITNESS


         Defendants, Rolando Pablos, in his official capacity as Texas Secretary of State, and Steven

C. McCraw, in his official capacity as Director of the Texas Department of Public Safety,

(“Defendants”), file this designation of rebuttal expert witness pursuant to the Court’s scheduling

order and Federal Rule of Civil Procedure 26(a)(2)(C).

         Defendants hereby designate the following nonretained rebuttal expert witness to testify

on their behalf:

Betsy Schonhoff, Voter Registration Manager
Texas Office of the Secretary of State
P.O. Box 12060
Austin, Texas 78711
Telephone: 512-463-5650




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  When this lawsuit was filed, Carlos H. Cascos was Texas’s Secretary of State. On January 5, 2017, Rolando Pablos
took over this position. Secretary Pablos is therefore now listed as the Defendant in this cause. See FED. R. CIV. P.
25(d), “[a]n action does not abate when a public officer who is a party in an official capacity dies, resigns, or otherwise
ceases to hold office while the action is pending. The officer’s successor is automatically substituted as a party. Later
proceedings should be in the substituted party’s name[.]”

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       Ms. Schonhoff is hereby designated as a nonretained expert and is expected to give rebuttal

testimony and opinions in response to Dr. Eitan D. Hersh’s expert report and proposed testimony.

Ms. Schonhoff is expected to give testimony in rebuttal to the information and opinions contained

throughout Dr. Hersh’s expert report, including:

       a.       The information SOS does and does not receive from DPS in connection with

       change of address and driver license renewal transactions;

       b.       The information SOS does and does not receive from DPS in connection with other

       tasks which are not change of address and driver license renewal transactions;

       c.       The ways the information referenced in Paragraphs (a) and (b), including, but not

       limited to, signatures and/or address information, is used, collected, and/or transmitted, and

       the manner in which the information referenced in Paragraphs (a) and (b), including, but

       not limited to, signatures and/or address information, is not used, not collected, and/or not

       transmitted.

       d.       The ways in which individuals who renew their driver licenses or change their

       addresses with DPS and want to newly register to vote or want to update their voter

       registration information could be newly registered to vote or have their voter registration

       information updated.

       Ms. Schonhoff’s opinions and expected rebuttal testimony are based on her experience and

familiarity with managing the State’s voter registration information management system; her

personal knowledge, gained by working as voter registration manager at the Texas Office of the

Secretary of State; her review of Dr. Hersh’s expert report; her review of Keith Ingram’s deposition

in this case; and the her review of pleadings and documents in this case including the Original

Complaint.



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                                              Respectfully submitted,

                                              KEN PAXTON
                                              Attorney General of Texas

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                                              /s/Anne Marie Mackin
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                                              ATTORNEYS FOR DEFENDANTS

                                 CERTIFICATE OF SERVICE

       I certify that on this the 1st day of May, 2017 a true and correct copy of the foregoing was

filed electronically with the Court causing electronic service upon all counsel of record.

                                              /s/Anne Marie Mackin
                                              ANNE MARIE MACKIN
                                              Assistant Attorney General




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